Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 1 of 11 PageID# 696




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                           lN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN THE DISTRICT OF VlRGlNIA

                                          Alexandria Division

   UNITED STATES OF AMERICA                      )            Criminal No.: 1:18-CR-89
                                                 )
          v.                                     )
                                                 )
   JERRY CHUN SBING LEE,                         )            UNDERSEAL
                                                 )
                                                 )
                           Defendant.            )

                                                ORDER
          (U) This matter is before the Court on the the Defendant's Third, Fourth, and Fifth

   Notices of Intent to Disclose Classifiell Information (0kt. Nos. 79, 94, and 95), as well as the

   govcnunent's Objections to those Notices (0kt. Nos. 83, 104). The Notices and Objections we1·e

   filed In Camera and Under Seal pursuant to the Classified ·Information Procedures Act ("CIPA "),

   18 U.S.C. App.   m.   The parties met, conferred, and reached certain agreements regarding the

  classi_ficd infonnation at issue. For good cause shown, after considering the narure of the

  information in question, the documentary evidence and onlicipatcd testimony to be presented at

  trial, the charges ~inst the defendant, any possible defenses thereto, and the arglllnents of the

  parties, the Cowt hel'eby GRANTS. in part, the govemment's Motion to exclude the classified

  information resolved herein.

          (U) Having considered the arguments of both parties, the Court-finds rhat rhc classified

  information referenced in the defendant's Notices iu1plicares the govemment's classified

  infonnation privilege because che information is properly classified and its disclosure could

  cause se1ious, and in some cases exceptionally grave, damage to the national secul'it y of the



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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 2 of 11 PageID# 697




 United States. The Court finds that none of the classified information addressed herein is

 exculpatory. See Brady v. Maryland, 373 U.S. 83 (1963).

        (U) Additionally, the Court finds that the "relevant and helpful" standard articulated in

 United States v. Roviaro, 353 U.S. 53 (1957), and United States v. Yunis, 867 F.2d 617 (D.C.

 Cir. 1989), is the appropriate standard by which to analyze whether the defendant may publicly

 disclose classified evidence in his defense where, as here, the government has properly invoked

 the classified information privilege. See also United States v. Sarkissian., 841 F.2d 959 (9th Cir.

 1988); United States v. Smith, 780 F.2d 1102, 1110 ( 4th Cir. 1985). To this end, the Court finds

 that in applying the Roviaro/Yunis standard, none of the classified information resolved by this

 Order is relevant and helpful to the defense. The Court further notes that, even where classified

 information is relevant and helpful to the defense, the classified information privilege is not

 overcome unless a balancing of the need to protect the government's information against the

 defendant's interest in disclosure weighs in favor of the disclosure. See Smith, 780 F.2d at 1110.

 Given that none of the classified information resolved by the Order is relevant and helpful to his

 defense, the Court need not reach that balancing test here.

         (U) Having considered briefing and the agreements of the parties on these matters, and

 in light of the findings that the information resolved by this Order is not relevant and helpful to

 the defense, and that disclosure thereof implicates serious national security concerns, the Court

 finds that the classified information described below shall be excluded from public disclosure, at

 trial or otherwise, in this matter. The Court :further fmds that any substitutions made by the

 government and approved by the defendant are appropriate because they "provide the defendant

 with substantially the same ability to make his defense as would disclosure of the specified

 classified information." 18 U.S.C. aup. m § 6(c); see Smith, 780 F.2d at 1105:
Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 3 of 11 PageID# 698



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                                   "-The true names ofthe.following persons, who are or were employed

   by the Central Intelligence Agency (''ClA") in covert capacities~



                                                               j The Court will   consider further protections
L-------------------'                                        .                           .
 for certain witnesses at the hearing on the govei.nm.ent•s affinnative CIPA section 6 motion.

           ~- J Item   11 - Photographs of the Defendant's Notebooks: Any information that is

   classified and not part of the Government's Notice pursuant to section l 0 of CIP A.

                   -Items 4 and 5-TranscriptS of Discussions Betwee~                          land JCirY Lee
  -----------,
                               The government has prepared unclassified vel'sions of these transcripts.

   The unolassitied versions, to which the Defendant has no objection, protect classified CIA

   information regarding 1he assignments of a covert CIA employee, information revealing sensitive

   intelligence tradecraft regarding the use of cover, and information regarding clandestine CIA

   intelligence opel'ations.

                                    -Item 6-FD-302 o                                                 :The
           ~                                            .
   govcmmcot produced an unclassified version of this document. The defendant ~s no objection

   to the unclassified version. The unclassified version protects classified CIA information

   1-egardingj                                     \the identities of Qtber covert CIA officers1

                                                                                  \and the existence of CIA
 L---------------------~
   operational activity, including the recruitment of and communication with human sources.




   1 (U) This Order follows the numbering set forth in the Defendant's Notices and adopted by tho
   ,ove.cmnent.




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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 4 of 11 PageID# 699
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                    -Itellls 7 and 8 - FD-302 of                                    The defendant shall
    not disclose, or question any witness regarding.

                                                            The defendant may qu.cstio

                     •and other witnesses about bias towards Mr. Lee and. with regard to

    witnesses and                whether any such bias arose from WOtkp,lace frj.ction.

                    ritem 9 - FD-302 of                                           The government
   produced an unolassJficd version of this document. The defendant has no objection to the

   unclassified version.

       -- ·- - --·ritcm 10-FD-302 ~ ~ L - - - - - - - - - - - - - - " ~ The goverJJ.ment

   produced an unclassified version ofthis doc~ent. The defenwmt has no objection to the
                                           t
   unclassified version. The unclassified version ptotects

                                                                       and information regarding
                                                ..
   clandestine CIA intelligence operations conducted in a foreign country



           · -~_tltcm 11 -FD-302 o~c..-_ _ _ _ _ _ _ _ _l: The.government is

   preparing an unclassified version of tbis document The uncJassf.fied VCl'Sio.o protects



             and information regvding clandestine CIA intelligence operations conducted in a

   foreign cow1try, The ~cfendant has no objection to the unclassified version, which will contain a

   substitution regarding the fact tha~



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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 5 of 11 PageID# 700




                    ·Items 12 and 13 - FD-302 o

               \The government produced WlClassitied versions of these documents, The defendant
   ~--~
    has no objection to the unclassified vcxsions• .P)'Ovided the Govemnient does not intend to- offer

    evidence regardmgj                                      \Classified info~on     :regardmgj           1·


   I               jare not pan of the government's secti01t 10 notice. The unclassified versi~ns

    protect other pieces of classified information such as the names and assignments of covert CIA

   ·employees.

                    Item 14-FD-302 o                                           !rhc government is
                                          L-----------
    preparing an unclassified version of this document. The defense has no objection to the

    unclassified version, which contains ·a substitutiOll rcgare~n~



                        I
                   ,-Items 15 and 16-FD-302s o

   CJrhe government produced unclassified versions of these documents. The defendant has

   no objection to the unclassified versions, The unclassified VCJSions protect classified CIA

   information regardinsjL-------------------~\dctails
   regarding the assignments of a covert CIA employeo, and clandestine CIA intelligence activities.

                                -Items 17 and 18 - FD-302s of

  ·IL______,\The ~overnment produced unclassified versions of thcs~ 4ocuments. The
   defendant has no objection to the unclassified versions. The un:ciassified versions protect

   classified CIA information regarding the identity and assignments of covert CIA employees□

                                                                      hysical and informational
Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 6 of 11 PageID# 701

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     security   measures\
 I
                                  Item 19-FD-302 o                                                         Toe

     government produced an unclassified version of this document. The defendant has no objection

     to the unclassified version. The unclassified version protects classified CIA information

     regarding                                        the identities of other covert CIA officers,



                                                                                                         and the

     existence of CIA operational activity.

                                   Item 21- FD-302 of                                                    The

     government produced an unclassified version of this document. The defendant has no objection

     to the unclassified version. Toe unclassified version protects classified CIA information

     regarding                                       the identities of other covert CIA officers,



                                                                                             and the existence of CIA

     operational activity, including the recruitment of and communication with human sources.

                             ~   . -Item 22 - FD-302        ofl                                             ~•
     government produced an unclassified version of this document. The defendant has no objection

     to the unclassified version. The unclassified version protects classified CIA information

     regarding                                       the identities of other covert CIA officers



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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 7 of 11 PageID# 702


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   existence of CIA operational activity, including the recruinnent of and communication with

   hum~ sources.

                     -Iiem 23 -FD-302 of Jerry Lee (May 22, 2013): The defendabt shall not disclose

   or question any witness regardi~



                     Item 24- FD-302 of Jerry Lee (May 28. 2013): The parties shall refer         tQ
   .______,~ a colleague of Mr. Lee from a United States Government agency other than_the CIA.

                   -~_-Items 27 and 2g- FD-302s of JCC!}' Lee (June 4, 2013): The government
                                        ..
   produced unclassified versions of these documents. The defense bas no objection to the

   unclassified versions, which protect
                                     .·. classified information regacding CIA counterintelligence and
   capabilities.

                      Items 29 and 30 - Recording and Transcript of the January 2018 Pre-Attest

   Interview: The government is preparing unclass.iflcd versions of these items, to which the

   defendant has no objection. The classified version contains redactions to protect classified

   infounation rcguding the CJA'~L..------'
                    t-ltem 31 -Cable Reganling Lee's Self-Repon (May 2010): The government

   intcnda to produce an unclassified version of this docwneru_ which protects classified

   infonnation regarding                                                              The 'unclassified

   version will contain a substitution regarding the location whel'e Lee met w i ~ The

   substitution will state that Lee   and           ~et in a location outside of the United States other

   thanj'-------'
          - ~ -~ -Item 33 - Lee's Online CIA Employment Application: The government

   produced an unclassifiea version of this document. The defense bas no objection to the


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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 8 of 11 PageID# 703


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   unclassified version. which protects classified .information concerning
                                                                             L-------------'
   Lee's assignments as well as counterintelligence methods employed by the CIA during the hiring

   process.

                  ,1-Items 34 and 35 -FD-302s o ~ ' - - - - - - - - - - - - ~ ~
   government produced unc.lusified versions of these documents. The defense has no objection to

   tlie unclassified vel'sions, which protect classified information regarding the presence of CIA

   employees,!



                   -Item 42, Group 1, Document 3 was withdrawn by the defendant.

                   -Item 42, Group 1, DocumeJlt 4 was withdrawn by the defendant.

                  _-Item 42, Group 1, Document S was withdrawn by the defendant.

                   ·Item 43, Document 3 was withdrawn by the defendant.

              __ _r Item 44 - Portion of Transcript from Meeting B e t W e ~ Le~

  '---------'~ecause ~s case does not concem the disappearance of assets'-----------~
  CJ the p8lties agree that the po11ion of-the conversation noticed by the defendant is
   i1televant and not helpful to the defense. Thel'efore, it is ex.elude',

              ___ The parties reached the following agrements regarding th~ defendant's Potential.

   testimony (noticed in his Fifth Notice of Intent to Disclose Clasmied Information):

              • The defenunt shall not disclose the true names of any former CIA colleagues

                  whose CIA affiliation remains.covert, including but not limited to the employees

                  named herein;
                                                                             i
              •   The defcnd,nt shall not disclose the fact "that he receive« [          !training;
                                                                              ~---
                                                                                                      ..,


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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 9 of 11 PageID# 704

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                    •     The defendant shall not disclos




              (U) Accordingly, it is ORDERED that the classified infonnation resolved by this Order,

    as specified above. is inadmissible for the reasons set forth in this order, as required by CIPA

    Section 6(a); it is further

              (U)       ORDERED that the defendant, his counsel, his representatives, and his witnesses
    (collectively, the "defendant"). are precluded from disclosing the classified information resolved

    by the Order in any manner in connection with any trial or pretrial proceeding in this case,

    whether directly, indirectly, or derivatively, as documentary exhibits or oral testimony or jury

    addresses, including introducing, eliciting, posing hypothcticals concerning. releasing,

    sp~lating about the nature of. directy or cross-examining witnesses about, publicly commenting

    on, creating or using exhibits containing, or otherwise referencing classifiei information; it i~

    further

              (U) ORDERED that with respect to any infonnation that the government has produced

   in an unclassified, redacted version, the defendant is prohibited from discJosing, introducing,

   eliciting, posing hypotheticals concerning. releasing, speculating about the nature of, direct- or

   cross-examining witnesses about, publicly commenting on, creating or using exhibits containing.

   or otherwise referencing classified information beyond the specific language in the unclassified

   versions of the documents, in any manner in connection with any trial or pretrial proceedings in

   this case. it is further

              (U) ORDERED that the defendant's Third, Fourth, and Fifth Notices oflntent to

   Disclos~ Classified Information (Dkt. Nos. 19, 94, and-95), as well as the govenunent's




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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 10 of 11 PageID# 705

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    Objections and Responses to those Notices (Dkt. Nos. 83, 104). and the defendant•s Replies

    thereto, and accompanying Declarations and exhibits, an4 this Order shall be sealed and

    maintained in a facility appropriate for the storage of such classified information by the

    Classified Information Security Officer as the de9ignec of the Clerk of Court, in accordance with

    established security procedures, for any future review, until further order of this Court.




    (U) IT IS SO OIIDl!RED, 011 this~dq of                 m,~ ,        2019.




           Copies via Classified Infonn«tion Security Officer to:

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Case 1:18-cr-00089-TSE Document 194 Filed 02/18/20 Page 11 of 11 PageID# 706



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